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     In The United States Court of Federal Claims
                                            No. 09-152L

                                 (Filed: February 17, 2012)
                                         __________

  CAROLINA PLATING WORKS, INC.,
  Individually for Itself and As Representative
  of a Class of Similarly Situated Persons,

                               Plaintiff,

                        v.

  THE UNITED STATES,

                               Defendant.


                                             __________

                                              ORDER
                                             __________


       A telephonic status conference will be held in this case on Tuesday, March 6, 2012, at
2:00 p.m. (EST). Chambers will contact the parties shortly before the scheduled conference
time.

       IT IS SO ORDERED.



                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
